             Case 3:16-md-02741-VC Document 18881 Filed 07/19/24 Page 1 of 3




 1
     Corrie J. Yackulic
 2   CORRIE YACKULIC LAW FIRM PLLC
     110 Prefontaine Place South, Suite 304
 3   Seattle, Washington 98104
     Tel. 206.787.1915
 4   Fax. 206.299.9725
 5   Corrie@cjylaw.com

 6   Christopher L. Johnson
     WATERS KRAUS PAUL & SIEGEL
 7   3141 Hood Street, Suite 700
     Dallas, Texas 75219
 8   Tel. 214-357-6244
 9   Fax. 214-357-7252
     cjohnson@waterskraus.com
10
     Counsel for Plaintiffs
11
                               UNITED STATES DISTRICT COURT
12                            NORTHERN DISTRICT OF CALIFORNIA
13                                SAN FRANCISCO DIVISION

14     IN RE: Roundup Products Liability Litigation    MDL No. 2741

15     This Document Relates to:                       Case No.: 3:16-md-02741-VC
16
       Kenneth Noel Eilmes, Jr. and Kelleen Patricie   NOTICE RE DOCKET 18667
17     Eilmes v. Monsanto Co.
       Member Case No. 3:19-cv-05345-VC
18
       Caryl Ann Haase (deceased) and Clyde
19     Edward Haase v. Monsanto Co.
       Member Case No. 3:19-cv-05957-VC
20

21     Neal Allen Hayden and Robin D. Hayden v.
       Monsanto Co.
22     Member Case No.: 3:19-cv-05600-VC
23     Carol Ann Huntley v. Monsanto Co.
       Member Case No. 3:19-cv-06407-VC
24

25

26
      NOTICE RE DOCKET 18667
27
      PAGE 1
             Case 3:16-md-02741-VC Document 18881 Filed 07/19/24 Page 2 of 3




 1
            The parties have resolved the issue of the length of Dr. Knopf’s depositions. There is no
 2
     need for the Court to rule on Plaintiffs Motion to Limit Four Related Specific Causation Expert
 3
     depositions to Six (6) Hours total (Dkt. 18667).
 4

 5          DATED: July 19, 2024

 6          Respectfully submitted,

 7    CORRIE YACKULIC LAW FIRM, PLLC                    WATERS KRAUS PAUL & SIEGEL
 8    _/s/ Corrie J. Yackulic________                   /s/ Chris Johnson_____________
 9    Corrie J. Yackulic                                Chris Johnson
      (corrie@cjylaw.com)                               (cjohnson@waterskraus.com)
10    110 Prefontaine Pl. S. Ste. 304                   3141 Hood Street Ste. 700
      Seattle, WA 98104                                 Dallas, TX 75219
11    Tel: (206) 787-1915                               Tel: (214) 357-6244
      Fax: (206) 299-9725
12

13    Counsel for the Plaintiffs                        Counsel for the Plaintiffs

14

15

16

17

18
19

20

21

22

23

24

25

26
      NOTICE RE DOCKET 18667
27
      PAGE 2
             Case 3:16-md-02741-VC Document 18881 Filed 07/19/24 Page 3 of 3




 1
                                           CERTIFICATE OF SERVICE
 2
            I, Corrie Yackulic, hereby certify that on July 19, 2024, the foregoing document was filed
 3
     via the Court’s CM/ECF system, which will automatically serve and send email notification of
 4

 5   such filing to all registered attorneys of record.

 6
                                                    CORRIE YACKULIC LAW FIRM, PLLC
 7
                                                    _/s/ Corrie J. Yackulic________
 8                                                  Corrie J. Yackulic
 9                                                  (corrie@cjylaw.com)
                                                    110 Prefontaine Pl. S. Ste. 304
10                                                  Seattle, WA 98104
                                                    Tel: (206) 787-1915
11                                                  Fax: (206) 299-9725
                                                    Counsel for the Plaintiffs
12

13

14

15

16

17

18
19

20

21

22

23

24

25

26
      NOTICE RE DOCKET 18667
27
      PAGE 3
